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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
CHRIS RAMSUBHAG,                       :
                                       :
                                                        Case No.: _________________
                Plaintiff,             :
                                       :
                                                        COMPLAINT
      -against-                        :
                                       :
                                                        DEMAND FOR JURY TRIAL
E*TRADE FINANCIAL CORPORATION,         :
RODGER A. LAWSON, MICHAEL A. PIZZI, :
KEVIN T. KABAT, RICHARD J. CARBONE, :
ROBERT CHERSI, JAIME W. ELLERTSON, :
JAMES P. HEALY, JAMES LAM, SHELLEY :
B. LEIBOWITZ, REBECCA SAEGER,          :
DONNA L. WEAVER, and JOSHUA            :
WEINREICH,                             :
                                       :
                Defendants.            :
-------------------------------------- X

       Plaintiff, Chris Ramsubhag (“Plaintiff”), by her undersigned attorneys, alleges upon

personal knowledge with respect to herself, and information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                  NATURE OF THE ACTION

       1.        This is an action brought by Plaintiff against E*TRADE Financial Corporation

Ltd. (“E*TRADE” or the “Company”) and the members of the Company’s board of directors

(collectively referred to as the “Board” or the “Individual Defendants” and, together with

E*TRADE, the “Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and SEC Rule 14a-9,

17 C.F.R. § 240.14a-9, in connection with the proposed merger between E*TRADE and Morgan

Stanley (the “Proposed Merger”). Plaintiff also asserts a claim against the Individual Defendants

for breaching their fiduciary duty of candor/disclosure under state law.

       2.        On February 20, 2020, E*TRADE entered into an Agreement and Plan of Merger



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(the “Merger Agreement”), pursuant to which the Company’s shareholders will receive 1.0432

shares of Morgan Stanley common stock exchange for each share of E*TRADE common stock

they own (the “Merger Consideration”).

       3.       On April 17, 2020, in order to convince E*TRADE shareholders to vote in favor

of the Proposed Merger, Defendants authorized the filing of a materially incomplete and

misleading proxy statement/prospectus (the “Proxy”) with the Securities and Exchange

Commission (“SEC”), in violation of Sections 14(a) and 20(a) of the Exchange Act and in breach

of the Individual Defendants’ duty of candor/disclosure.

       4.       In particular, the Proxy contains materially incomplete and misleading

information concerning: (i) financial projections for E*TRADE and Morgan Stanley; and (ii) the

valuation analyses performed by E*TRADE’s financial advisors, J.P. Morgan Securities LLC

(“J.P. Morgan”) and Ardea Partners LP (“Ardea”), in support of their fairness opinions.

       5.       The special meeting of E*TRADE shareholders to vote on the Proposed Merger

is forthcoming (the “Shareholder Vote”). It is imperative that the material information that has

been omitted from the Proxy is disclosed prior to the Shareholder Vote so Plaintiff can cast an

informed vote and properly exercise his corporate suffrage rights.

       6.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and breach of the duty

of candor/disclosure. Plaintiff seeks to enjoin Defendants from taking any steps to consummate

the Proposed Merger until the material information discussed herein is disclosed to E*TRADE’s

shareholders sufficiently in advance of the Shareholder Vote or, in the event the Proposed Merger

is consummated, to recover damages resulting from the Defendants’ violations of the Exchange

Act and breach of the duty of candor/disclosure.




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                                 JURISDICTION AND VENUE

       7.         This Court has original jurisdiction over this action pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff

alleges violations of Sections 14(a) and 20(a) of the Exchange Act.

       8.        The Court has supplemental jurisdiction over the state law claim for breach of the

duty of candor/disclosure pursuant to 28 U.S.C. § 1367.

       9.        Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over the Defendants by this Court permissible

under traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec. Inv’r

Prot. Corp. v. Vigman 764 F.2d 1309, 1305 (9th Cir. 1985). “[S]o long as a defendant has minimum

contacts with the United States, Section of the Act confers personal jurisdiction over the defendant

in any federal district court.” Id. At 1316

       10.       Venue is proper in this District under Section 27 of the Exchange Act and 28

U.S.C. § 1391, because Defendants are found or are inhabitants or transact business in this District.

Indeed, E*TRADE’s common stock trades on Nasdaq stock exchange, which is headquartered in

this District, E*TRADE hired J.P. Morgan as a financial advisor, Skadden, Arps, Slate, Meagher

& Flom LLP as a legal advisor, and Innisfree M&A Incorporated as a proxy solicitor for the

purposes of the Proposed Merger, all of which are also located in this District, and the closing of

the Proposed Merger is scheduled to occur in this District rendering venue in this District




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appropriate. See, e.g., United States v. Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003) (collecting

cases).

                                            PARTIES

          11.     Plaintiff is, and at all relevant times has been, a holder of E*TRADE common

stock.

          12.     Defendant E*TRADE provides financial services including brokerage and

banking products and services to traders, investors, stock plan administrators and participants, and

registered investment advisers. The Company’s common stock trades on the Nasdaq stock

exchange under the ticker symbol “ETFC”.

          13.     Individual Defendant Rodger A. Lawson has served as a director of the Company

since February 2012, and as Chair of the Board since May 2013.

          14.     Individual Defendant Michael A. Pizzi has been Chief Executive Officer

(“CEO”) and a director of the Company since August 2019.

          15.     Individual Defendant Kevin T. Kabat has been Lead Independent Director of the

Company since September 2016 and a director of the Company since June 2016.

          16.     Individual Defendant Richard J. Carbone has been a director of the Company

since August 2013.

          17.     Individual Defendant Robert Chersi has been a director of the Company since

January 2019.

          18.     Individual Defendant Jaime W. Ellertson has been a director of the Company

since May 2019.

          19.     Individual Defendant James P. Healy has been a director of the Company since

January 2015.




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        20.       Individual Defendant James Lam has been a director of the Company since

November 2012.

        21.       Individual Defendant Shelley B. Leibowitz has been a director of the Company

since May 2013.

        22.       Individual Defendant Rebecca Saeger has been a director of the Company since

February 2012.

        23.       Individual Defendant Donna L. Weaver has been a director of the Company since

April 2003.

        24.       Individual Defendant Joshua Weinreich has been a director of the Company since

2018.

        25.       The Individual Defendants referred to in ¶¶ 12-24 are collectively referred to

herein as the “Individual Defendants” and/or the “Board”, and together with E*TRADE they are

referred to herein as the “Defendants.”

                              SUBSTANTIVE ALLEGATIONS

        I.      Background and the Proposed Merger

        26.      E*TRADE is a financial services company that provides brokerage and related

products and services. The Company focuses on delivering its digital solutions for traders,

investors, advisors, and stock plan administrators and participants. It provides services to

customers through its digital platforms and network of industry-licensed customer service

representatives and financial consultants, over the phone, by email and online via two national

financial centers and in-person at approximately 30 regional financial centers across the United

States. The Company operates its federally chartered savings banks for the purpose of deposits

generated through its brokerage business.




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       27.     Morgan Stanley is a financial holding company whose segments include

Institutional Securities, Wealth Management and Investment Management. The Institutional

Securities business segment provides investment banking, sales and trading, and other services to

corporations, governments, financial institutions and high-to-ultra high net worth clients. The

Wealth Management business segment provides an array of financial services and solutions to

individual investors and small-to-medium sized businesses and institutions covering brokerage and

investment advisory services, market-making activities in fixed income securities, financial and

wealth planning services, annuity and insurance products, credit and other lending products,

banking and retirement plan services. The Investment Management business segment provides a

range of investment strategies and products.

       28.     On February 20, 2020, E*TRADE issued a press release announcing the Proposed

Merger, which states in relevant part:

        MORGAN STANLEY TO ACQUIRE E*TRADE, CREATING A LEADER
            IN ALL MAJOR WEALTH MANAGEMENT CHANNELS

       • Combined platforms will have $3.1Tn client assets, 8.2MM retail client
       relationships and accounts, and 4.6MM stock plan participants

       • Combination increases Wealth Management scale, fills product and services
       gaps through complementary offerings, and enhances digital capabilities;
       positions Morgan Stanley as a top player across all three channels: Financial
       Advisory, Workplace, and Self-Directed

       • Significant cost and funding synergies will result in stronger financial
       performance and shareholder value creation

       • Combination accelerates Morgan Stanley’s transition to a more balance
       sheet light business mix and more durable sources of revenue

       NEW YORK & ARLINGTON, Va.--(BUSINESS WIRE)--Morgan Stanley
       (NYSE: MS) and E*TRADE Financial Corporation (NASDAQ: ETFC) have
       entered into a definitive agreement under which Morgan Stanley will acquire
       E*TRADE, a leading financial services company and pioneer in the online
       brokerage industry, in an all-stock transaction valued at approximately $13 billion.



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Under the terms of the agreement, E*TRADE stockholders will receive 1.0432
Morgan Stanley shares for each E*TRADE share, which represents per share
consideration of $58.74 based on the closing price of Morgan Stanley common
stock on February 19, 2020.

The combination will significantly increase the scale and breadth of Morgan
Stanley’s Wealth Management franchise, and positions Morgan Stanley to be an
industry leader in Wealth Management across all channels and wealth segments.
E*TRADE has over 5.2 million client accounts with over $360 billion of retail
client assets, adding to Morgan Stanley’s existing 3 million client relationships and
$2.7 trillion of client assets. Morgan Stanley’s full-service, advisor-driven model
coupled with E*TRADE’s direct-to-consumer and digital capabilities, will allow
the combined business to have best-in-class product and service offerings to support
the full spectrum of wealth.

“E*TRADE represents an extraordinary growth opportunity for our Wealth
Management business and a leap forward in our Wealth Management strategy. The
combination adds an iconic brand in the direct-to-consumer channel to our leading
advisor-driven model, while also creating a premier Workplace Wealth provider
for corporations and their employees. E*TRADE’s products, innovation in
technology, and established brand will help position Morgan Stanley as a top player
across all three channels: Financial Advisory, Self-Directed, and Workplace,” said
James Gorman, Chairman and CEO of Morgan Stanley. “In addition, this continues
the decade-long transition of our Firm to a more balance sheet light business mix,
emphasizing more durable sources of revenue.”

“Finally, I am delighted that Mike Pizzi, CEO of E*TRADE, will be joining
Morgan Stanley. Mike will continue to run the E*TRADE business within the
Morgan Stanley franchise and lead the ongoing integration effort. Mike will report
to me and will join the Morgan Stanley Operating and Management Committees.
In addition, we will invite one of E*TRADE’s independent directors to join our
Board. We look forward to welcoming the infusion of management and technology
talent that E*TRADE will bring to Morgan Stanley.”

“Since we created the digital brokerage category nearly 40 years ago, E*TRADE
has consistently disrupted the status quo and delivered cutting-edge tools and
services to investors, traders, and stock plan administrators,” said Mike Pizzi, Chief
Executive Officer of E*TRADE. “By joining Morgan Stanley, we will be able to
take our combined offering to the next level and deliver an even more
comprehensive suite of wealth management capabilities. Bringing E*TRADE’s
brand and offerings under the Morgan Stanley umbrella creates a truly exciting
wealth management value proposition and enables our collective team to serve a
far wider spectrum of clients.”

The transaction will create a leading player in Workplace Wealth, combining
E*TRADE’s leading U.S. stock plan business with Shareworks by Morgan Stanley,



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a top provider of public stock plan administration and private cap table management
solutions. This combination will enable Morgan Stanley to accelerate initiatives
aimed at enhancing the workplace offering through online brokerage and digital
banking capabilities, providing a significantly enhanced client experience.

E*TRADE has been a pioneer in the digital brokerage and banking space for nearly
40 years and is an iconic brand. E*TRADE’s hallmarked, consumer-facing
technology platforms will complement Morgan Stanley’s leading advisor-facing
technology. E*TRADE also provides a full suite of digital banking services,
including direct integration with brokerage accounts, checking and high-yield
savings accounts, significantly accelerating Morgan Stanley’s digital banking
efforts. The transaction adds approximately $56 billion of low-cost deposits, which
will provide significant funding benefits to Morgan Stanley.

Importantly, the acquisition marks a continuation of Morgan Stanley’s decade-long
effort to rebalance the Firm’s portfolio of businesses so that a greater percentage of
Firm revenues and income are derived from balance sheet light and more durable
sources of revenues. Upon integration, the combined Wealth and Investment
Management businesses will contribute approximately 57% of the Firm’s pre-tax
profits, excluding potential synergies, compared to only approximately 26% in
2010.

The transaction provides significant upside potential for shareholders of both
Morgan Stanley and E*TRADE. Shareholders from both companies will benefit
from potential cost savings estimated at approximately $400 million from
maximizing efficiencies of technology infrastructure, optimizing shared corporate
services and combining the bank entities, as well as potential funding synergies of
approximately $150 million from optimizing E*TRADE’s approximate $56 billion
of deposits. In addition, Morgan Stanley will have enhanced technology and service
capabilities to capture a larger portion of the estimated approximate $7.3 trillion of
combined current customer assets held away, which will drive significant revenue
opportunities.

Morgan Stanley will be better positioned to generate attractive financial returns
through increased scale, improved efficiency, higher margins, stronger returns on
tangible common equity, and long-term earnings accretion. Morgan Stanley
expects the acquisition to be accretive once fully phased-in estimated cost and
funding synergies are realized. Morgan Stanley will maintain its strong capital
position, with the Firm’s common equity tier 1 ratio estimated to increase by over
30bps at closing. The transaction is expected to increase the Firm’s return on
tangible common equity by more than 100bps with fully phased-in cost and funding
synergies and improve Wealth Management’s pre-tax profit margin to over 30%.

The acquisition is subject to customary closing conditions, including regulatory
approvals and approval by E*TRADE shareholders, and is expected to close in the
fourth quarter of 2020.



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       29.       The Merger Consideration represents inadequate compensation for E*TRADE

shares. Indeed, E*TRADE has outperformed expectations and announced positive financial results

in consecutive quarters leading up to the Proposed Merger. Moreover, since the announcement of

the Proposed Merger, Morgan Stanley has seen its stock price fall over 28% from $56.31 on

February 19, 2020 to $40.28 as of the close of the market on May 18, 2020. Accordingly, since no

price collar was put into place and the Merger Consideration consists entirely of Morgan Stanley

stock, the value of the Merger Consideration has fallen from $58.74 to $42.02 and the Merger

Consideration provides a negative premium—or a loss—to the Company’s pre-merger

announcement price of $44.93. Thus, it is imperative that shareholders receive the material

information (discussed in detail below) that Defendants have omitted from the Proxy, which is

necessary for shareholders to properly exercise their corporate suffrage rights and cast an informed

vote on the Proposed Merger.

       II.      The Proxy Omits Material Information

       30.       On April 17, 2020, Defendants filed the materially incomplete and misleading

Proxy with the SEC. The Individual Defendants were obligated to carefully review the Proxy

before it was filed with the SEC and disseminated to the Company’s shareholders to ensure that it

did not contain any material misrepresentations or omissions. However, the Proxy misrepresents

and/or omits material information that is necessary for the Company’s shareholders to make an

informed decision in connection with the Proposed Merger.

The Misleadingly Incomplete Financial Projections

       31.       First, the Proxy omits critical financial projections for both E*TRADE and

Morgan Stanley, including revenue projections for both companies, dividend projections for both

companies, tangible book value per share for both companies, earnings per share for Morgan



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Stanley, the analyst projections which served as the basis for the Morgan Stanley projections, and

the projected synergies for the combined company (the “Omitted Projections”). Defendants elected

to summarize multiple sets of financial projections, but they excised and failed to disclose the

Omitted Projections. By disclosing certain projections in the Proxy and withholding the Omitted

Projections, Defendants render the tables of projections on pages 61-62 of the Proxy materially

incomplete and provide a misleading valuation picture of E*TRADE and Morgan Stanley.

Moreover, both financial advisors used the Omitted Projections in the valuation analyses

underlying their fairness opinions. Simply put, Omitted Projections are irreplaceable when it

comes to fully, fairly, and properly understanding a company’s projections and value.

       32.      Unlike poker where a player must conceal his unexposed cards, the object of a

proxy statement is to put all one’s cards on the table face-up. In this case only some of the cards

were exposed—the others were concealed. If a proxy statement discloses financial projections and

valuation information, such projections must be complete and accurate. The question here is not

the duty to speak, but liability for not having spoken enough. With regard to future events,

uncertain figures, and other so-called soft information, a company may choose silence or speech

elaborated by the factual basis as then known—but it may not choose half-truths. Accordingly,

Defendants have disclosed some of the projections relied upon by the financial advisors and the

Board but failed to disclose the Omitted Projections. This omission renders the summary of: the

projection tables; the financial advisors valuation analyses; and the Company’s financial picture

in the Proxy misleadingly incomplete.

       33.      Second, the Proxy states that in February 2020 E*TRADE decided to revise their

financial projections downward based on financial results through December 31, 2019. However,

the Proxy fails to explain what or how the Company’s market results accounted for this downward




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adjustment. Indeed, in both Q3 2019 and Q4 2019, the Company exceeded earnings expectations,

which would suggest an upward adjustment to the projections—not a downward one. Given the

juxtaposition of this statement and the financial results, the omission of any explanation renders

such statement misleading.

The Misleadingly Incomplete Summary of J.P. Morgan’s and Ardea’s Fairness Opinions

       34.      Proxy describes the financial advisors’ fairness opinions and the various valuation

analyses performed in support of their opinions. Defendants concede the materiality of this

information in citing the fairness opinion and their valuation analyses among the “material” factors

the Board considered in making its recommendation to E*TRADE shareholders. Proxy at 58; see

also Proxy at 71 (“The foregoing summary of certain material financial analyses does not purport

to be a complete description of the analyses or data presented by J.P. Morgan.”) and 74 (“the

following is a summary of the material financial analyses presented by Ardea to the E*TRADE

board of directors in connection with rendering to the E*TRADE board of directors the opinion

described above.”). However, the summary of these fairness opinions and analyses provided in the

Proxy fails to include key inputs and assumptions underlying the analyses. Without this

information, as described below, E*TRADE shareholders are unable to fully understand these

analyses and, thus, are unable to determine what weight, if any, to place the fairness opinions in

determining how to vote on the Proposed Merger. See Proxy at 66 (“Considering the data set forth

below without considering the full narrative description of the financial analyses, including the

methodologies and assumptions underlying the analyses, could create a misleading or incomplete

view of J.P. Morgan’s analyses.”). This omitted information, if disclosed, would significantly alter

the total mix of information available to E*TRADE’s shareholders.

       35.      In summarizing the Dividend Discount Analyses prepared by J.P. Morgan and




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Ardea, the Proxy fails to disclose the following key information used in the analyses: (i) the

dividend projections that served as the basis for the analysis; (ii) the implied amount of the

additional cash distributions E*TRADE would make to its stockholders during each year 2020

through 2029 to achieve a Tier 1 Leverage Ratio of 6.75% (as provided by E*TRADE

management); (iii) the implied amount of the additional cash distributions Morgan Stanley would

make to its stockholders during each year 2020 through 2029 to achieve a supplementary leverage

ratio of 6% (as provided by E*TRADE management); (iv) the inputs and assumptions underlying

the various discount rate ranges (including the values of the company-specific WACC/CAPM

components); and (v) the actual terminal values calculated for each analysis.

       36.      Without the above-omitted information, E*TRADE shareholders are misled as

to the reasonableness or reliability of J.P. Morgan’s analysis and unable to accurately assess the

fairness of the Proposed Merger. This is especially true with respect to the projected dividends

for each of E*TRADE and Morgan Stanley. Not only do dividends to shareholders serve as the

principal method for calculating the stock price of a company—under sound corporate finance

theory the value of the stock is the present value of its future dividends—but they are the central

metric for each Dividend Discount Analysis and indisputably the key inputs. As such, these

material omissions render the summary of the Dividend Discount Analyses included in the Proxy

misleadingly incomplete.

       37.      Next, in summarizing J.P. Morgan’s Public Trading Multiples Analysis, the

Proxy fails to disclose the trading multiples of Charles Schwab Corporation utilized in the

analysis. A fair summary of a comparable companies analysis requires the disclosure of the actual

multiples for each company used in the analysis. Merely providing the multiple reference range

for the target company that a banker calculated without any further information is insufficient, as




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shareholders are unable to assess whether the banker applied appropriate multiples, or, instead,

applied unreasonably low multiples in order to present the Merger Consideration in the most

favorable light. Accordingly, the omission of this material information renders the summary of

this analyses provided in the Proxy misleading.

       38.      Similarly, in summarizing the Aredea’s Premia Paid Analysis, the Proxy fails to

disclose the identity and value of each premium observed. A fair summary of analysis requires

the disclosure of the individual premium for each transaction involved in the analysis. Merely

providing quartiles of the premia without further information is insufficient, as shareholders are

unable to assess whether the Proxy summarized fairly, or, instead, summarized in order to present

the Merger Consideration in the most favorable light. The disclosure here is insufficient and

renders the summaries misleadingly incomplete.

       39.      Further, in summarizing the Broker Price Targets J.P. Morgan reviewed for each

company, the Proxy omits the individual price targets observed or the dates of those price targets;

instead, only providing a range of the price targets. Given the breadth of the price targets

provided, it is unclear if those price targets were summarized fairly or present a skewed version

of each company’s value. The disclosure here is insufficient and renders the summaries

misleadingly incomplete.

       40.      Finally, the Proxy fails to disclose why E*TRADE decided it was necessary to

retain two separate financial advisors to oversee a deal with minimal bidders and a truncated sales

process. Often, when additional bankers are brought in on a potential merger it is to cleanse the

conflict of interest faced by an existing financial advisor. Here, J.P. Morgan was E*TRADE’s

“long-standing financial advisor.” However, the Proxy does not disclose what conflict of interest

plagued J.P Morgan and required the Company to hire an additional financial advisor and incur




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an additional $20 million in fees. Information that bears on whether an investment bank faces

conflicts of interest is material to shareholders when deciding how to vote on a merger as it is

imperative for the shareholders to be able to understand what factors might influence the financial

advisor’s analytical efforts. A financial advisor’s own proprietary financial interest in a Proposed

Transaction must be carefully considered in assessing how much credence to give its analysis.

Thus, this omission of this information renders the disclosure of the financial advisors’ conflicts

of interest misleadingly incomplete and calls into question the veracity of their fairness opinions.

          41.    In sum, the omission of the above-referenced information renders the Proxy

materially incomplete and misleading, in contravention of the Exchange Act and the Individual

Defendants’ duty of candor/disclosure. Absent disclosure of the foregoing material information

prior to the forthcoming Shareholder Vote, Plaintiff will be unable to cast an informed vote

regarding the Proposed Merger, and is thus threatened with irreparable harm, warranting the

injunctive relief sought herein.

                                           COUNT I
           Against All Defendants for Violations of Section 14(a) of the Exchange Act

          42.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          43.    Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).



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       44.       Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       45.       The omission of information from a proxy will violate Section 14(a) if other SEC

regulations specifically require disclosure of the omitted information.

       46.       Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Merger. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical

information regarding, amongst other things: (i) financial projections for E*TRADE and Morgan;

and (ii) the valuation analyses performed by the financial advisors in support of their fairness

opinions.

       47.       In so doing, Defendants made misleading statements of fact and/or omitted

material facts necessary to make the statements made not misleading. Each of the Individual

Defendants, by virtue of their roles as officers and/or directors, were aware of the omitted

information but failed to disclose such information, in violation of Section 14(a). The Individual

Defendants were therefore negligent, as they had reasonable grounds to believe material facts

existed that were misstated or omitted from the Proxy, but nonetheless failed to obtain and

disclose such information to the Company’s shareholders although they could have done so

without extraordinary effort.

       48.       The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.




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The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Merger; indeed, the Proxy states that the financial advisors reviewed and discussed

their financial analyses with the Board, and further states that the Board considered the financial

analyses provided them, as well as their fairness opinions and the assumptions made and matters

considered in connection therewith. Further, the Individual Defendants were privy to and had

knowledge of the financial projections and the details surrounding the process leading up to the

signing of the Merger Agreement. The Individual Defendants knew or were negligent in not

knowing that the material information identified above has been omitted from the Proxy,

rendering the sections of the Proxy identified above to be materially incomplete and misleading.

Indeed, the Individual Defendants were required to, separately, review the financial advisors’

analyses in connection with their receipt of the fairness opinion, question them as to their

derivation of fairness, and be particularly attentive to the procedures followed in preparing the

Proxy and review it carefully before it was disseminated, to corroborate that there are no material

misstatements or omissions.

       49.      The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy

or failing to notice the material omissions in the Proxy upon reviewing it, which they were

required to do carefully as the Company’s directors. Indeed, the Individual Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and

preparation and review of the Company’s financial projections.




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          50.    E*TRADE is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

          51.    The misrepresentations and omissions in the Proxy are material and Plaintiff will

be deprived of his right to cast an informed vote on the Proposed Merger if such

misrepresentations and omissions are not corrected prior to the special meeting of E*TRADE’s

shareholders. Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                       COUNT II
   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

          52.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          53.    The Individual Defendants acted as controlling persons of E*TRADE within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          54.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.



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       55.       In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Merger. They

were thus directly involved in preparing this document.

       56.       In addition, as the Proxy sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy purports to describe the various issues and information that the Individual

Defendants reviewed and considered. The Individual Defendants participated in drafting and/or

gave their input on the content of those descriptions.

       57.       By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       58.       As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

by their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       59.       Plaintiff has no adequate remedy at law. Only through the exercise of this

Court’s equitable powers can Plaintiff be fully protected from the immediate and irreparable

injury that Defendants’ actions threaten to inflict.

                                       COUNT III
          Against the Individual Defendants for Breach of Their Fiduciary Duty of
                                    Candor/Disclosure

       60.       Plaintiff incorporates each and every allegation set forth above as if fully set forth


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herein.

          61.     By virtue of their role as directors and/or officers of the Company, the Individual

Defendants directly owed Plaintiff and all Company shareholders a fiduciary duty of

candor/disclosure, which required them to disclose fully and fairly all material information within

their control when they seek shareholder action, and to ensure that the Proxy did not omit any

material information or contain any materially misleading statements.

          62.     As alleged herein, the Individual Defendants breached their duty of

candor/disclosure by approving or causing the materially deficient Proxy to be disseminated to

Plaintiff and the Company’s other public shareholders.

          63.     The misrepresentations and omissions in the Proxy are material, and Plaintiff

will be deprived of his right to cast an informed vote if such misrepresentations and omissions

are not corrected prior to the Shareholder Vote. Where a shareholder has been denied one of the

most critical rights he or she possesses—the right to a fully informed vote—the harm suffered is

an individual and irreparable harm.

          64.     Plaintiff has no adequate remedy at law. Only through the exercise of this

Court’s equitable powers can Plaintiff be fully protected from the immediate and irreparable

injury that Defendants’ actions threaten to inflict.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment and relief as follows:

          A.    Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the special meeting of E*TRADE shareholders to vote on the Proposed

Merger or consummating the Proposed Merger, until the Company discloses the material

information discussed above which has been omitted from the Proxy;




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       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.



Dated: May 19, 2020                                 MONTEVERDE & ASSOCIATES PC
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